 

Case 9:13-cv-00991-FJS-RFT Document 7 Filed 02/03/14 Page 1of3

ADAM BENNEFIELD, 00B2792
Attica Correctional Facility
P.O. Box 149, 639 Exchange Street
Attica, New York 14011-0149

January 29, 2014

Hon. Court Clerk

U.S. District Court

P.O. Box 7367

100 S. Clinton Street
Syracuse, New York 13261-7367

 

RE: ADAM BENNEFIELD vs. Harold Graham, et. al.
Case Number: 9:13-cv-99]
Court Order Dated August 16, 2013

Dear Sir/Madam:

On August 29, 2013, I submitted a letter to you, enclosing
the in forma pauperis application, and a certification by the
accounting staff here at Attica Correctional Facility (a copy of
the letter w/o enclosures is enclosed).

I did not here back from this Court. During this time, I
have had a lot of Court deadlines from various courts, that I
have had to meet. I just would like to confirm that your office
did get the moving, papers. If that is not the case, please let
me know, and I will try to get a new copy and submit it to the
Court.

I would appreciate your time and assistance in this matter

and look forward to hearing from the Court soon.

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enclosure

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August 29, 2013

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100 S. Clinton Street
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RE: ADAM BENNEFIELD vs. Harold Graham, et. al.
Case Number: 9:13-cv-991

Dear Sir/Madam:

Per the Court order, dated August 16, 2013, enclosed you
will find a completed and Signed in forma pauperis application,
and a certification by the accounting staff here at Attica
Correctional Facility (I received this Certified statement
week(s) past the time that I requested and sent out to the
facility accounting departiwen. ‘PLEASE NOtE: that the facilities
accounting department chose to fill out one of their own forms,
rather than the one I submitted to the Court. Thus I am
providing the original ,copy, that of which I was not able to get
a copy of the records due to not beiny allowed to yo to the Law
Library, here in Attica, due to retalitory acts by facility
personnel and inmates working the Law Library).

As always, and I would appreciate your time and assistance

in this matter and look foward to hearing from the court with any

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further instructions, etc.

enclosure
c: file w/o enclosures
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